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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


 KNIGHT CAPITAL PARTNERS
 CORPORATION, a Michigan corporation,

                              Plaintiff,
                                               Case No. 2:16-cv-12022
                      v.                       Hon. David M. Lawson

 HENKEL AG & CO., KGaA,
 a German partnership limited by shares,

                           Defendant.


           DEFENDANT HENKEL AG & CO., KGAA’S OMNIBUS
                       MOTION IN LIMINE

       Defendant Henkel AG & Co., KGaA (“Henkel KGaA”) hereby submits the

 following motions in limine to exclude certain evidence and argument from the

 upcoming jury trial scheduled to begin on October 16, 2018:

    1. Motion To Exclude Any Argument Or Evidence About The Parties’ Legal

       Teams Or Legal Fees.

    2. Motion To Preclude Plaintiff From Making Negative Comments About

       Defendant’s German Residence Or Improperly Focusing On The Fact That

       Defendant Is A Foreign Or German Company.
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    3. Motion To Exclude All Testimony Or Argument Relating To Irrelevant Facts

       Or Allegations About Defendant.

    4. Motion To Limit Expert Testimony To The Subject Matter Of The Respective

       Expert’s Report And Preclude Plaintiff’s Expert Mr. Solomon From

       Testifying As Both A Fact Witness And An Expert Witness.

    5. Motion To Require That The Parties Use Clean Copies Of All Documents At

       Trial.

 This motion is supported by the attached Brief in Support and its accompanying

 exhibits. Pursuant to Local Rule 7.1(a), Defendant has conferred with Plaintiff and

 explained the nature and legal basis of this motion, but Plaintiff did not agree to the

 relief sought.




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  Dated: August 28, 2018                Respectfully submitted,

                                        /s/ Atif Khawaja

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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


 KNIGHT CAPITAL PARTNERS
 CORPORATION, a Michigan corporation,

                             Plaintiff,
                                            Case No. 2:16-cv-12022
                      v.                    Hon. David M. Lawson

 HENKEL AG & CO., KGaA,
 a German partnership limited by shares,

                           Defendant.


             DEFENDANT HENKEL AG & CO., KGAA’S BRIEF
            IN SUPPORT OF ITS OMNIBUS MOTION IN LIMINE
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                     STATEMENT OF ISSUES PRESENTED
 1.    Should this Court exclude any argument or evidence about the parties’ legal

 teams or legal fees?

       Defendant states: Yes.

       Plaintiff states: No.

       The Court should state: Yes.

 2.    Should this Court preclude Plaintiff from making negative comments about

 Defendant’s German residence or improperly focusing on the fact that Defendant is

 a foreign or German company?

       Defendant states: Yes.

       Plaintiff states: No.

       The Court should state: Yes.

 3.    Should this Court exclude all testimony or argument relating to irrelevant facts

 or allegations about Henkel?

       Defendant states: Yes.

       Plaintiff states: No.

       The Court should state: Yes.




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 4.       Should this Court limit expert testimony to the subject matter of the respective

 expert’s report and specifically preclude Plaintiff’s expert Mr. Solomon from

 testifying as both a fact witness and an expert witness?

          Defendant states: Yes.

          Plaintiff states: No.

          The Court should state: Yes.

 5.       Should this Court require that the parties use clean copies of all documents at

 trial?

          Defendant states: Yes.

          Plaintiff states: No.

          The Court should state: Yes.




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        Defendant Henkel AG & Co., KGaA (“Defendant” or “Henkel KGaA”)

  submits this brief in support of its motion to exclude certain irrelevant and unfairly

  prejudicial evidence and arguments that Henkel KGaA believes are likely to arise at

  trial based on statements made and positions taken by Plaintiff Knight Capital

  Partners Corp. (“Plaintiff” or “KCP”).       Defendant reserves the right to assert

  additional objections as they arise at trial and in response to the Court’s forthcoming

  Daubert and summary judgment rulings.

                                 LEGAL STANDARD

         “It is well settled that a trial judge’s discretion in balancing the probative

  value of evidence against its potential for unfair prejudice is very broad.” United

  States v. Bilderbeck, 163 F.3d 971, 978 (6th Cir. 1999). As this Court is well aware,

  the Federal Rules of Evidence state that “[e]vidence is relevant if: (a) it has any

  tendency to make a fact more or less probable than it would be without the evidence;

  and (b) the fact is of consequence in determining the action.” Fed. R. Evid. 401.

  Subject, of course, to specific exceptions, relevant evidence is generally admissible

  in trials, but “[i]rrelevant evidence is not admissible.” Fed. R. Evid. 402. Equally

  important, the Court has the authority to “exclude relevant evidence if its probative

  value is substantially outweighed by a danger of one or more of the following: unfair

  prejudice, confusing the issues, misleading the jury, undue delay, wasting time, or
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  needlessly presenting cumulative evidence.” Fed. R. Evid. 403. These general

  standards apply to each of Defendant’s motions below.

                               MOTIONS IN LIMINE

  I.    The Court Should Exclude Any Argument Or Evidence About The
        Parties’ Legal Teams Or Legal Fees.

        Any evidence about the parties’ legal teams or fees would be wholly irrelevant

  to the determination of liability, and therefore should be excluded under Federal

  Rule of Evidence 402. Facts relating to Henkel’s legal team or legal costs cannot

  possibly help the jury determine liability and do not have any tendency to make the

  existence of any fact that is of consequence to the determination of the action any

  more or less probable. Furthermore, comments about the size or residence of either

  legal team are wholly improper and would be made only for the improper purpose

  of trying to generate bias against out-of-state counsel. Such comments would be

  unfairly prejudicial and should be excluded by Federal Rule of Evidence 403.

  Comments about Defendant’s legal costs would likewise serve only to prejudice or

  confuse the jury, which might believe that there is a connection between the size of

  Defendant’s legal fees and the amount of Defendant’s perceived liability.

        Throughout its prosecution of this matter, Plaintiff has made repeated

  reference to the fact that Defendant has a larger legal team, in an apparent bid for

  sympathy from the Court. See, e.g., ECF No. 93 at 6 (explaining that Plaintiff’s

  document review took a long time due to Plaintiff’s “small team of two attorneys


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  and two client representatives”); Ex. 1 at 3 n.1 (“It is worth noting that while

  Defendant is represented by at least eight attorneys of record, Plaintiff has had just

  two attorneys of record working this case for the past year and a half.”).

        Defendant met and conferred with Plaintiff and asked its counsel to refrain

  from making similar statements and references to Defendant’s legal team and fees

  at trial. Plaintiff refused to do so. See Ex. 2. Plaintiff’s only reason for refusing

  such a stipulation is that “KCP believes there are circumstances under which these

  facts would be relevant.” Id. Notably, however, Plaintiff has not identified a single

  specific circumstance under which these facts could be relevant.

        Federal courts have held that comments on the size of a legal team, including

  comments inviting comparisons of the relative sizes of the two parties’ legal teams,

  are improper. See Reese v. Mercury Marine Div. of Brunswick Corp., 793 F.2d 1416,

  1429 n.11 (5th Cir. 1986) (noting that an attorney’s statement to the jury that he was

  alone against a team of lawyers was “obviously an improper attempt to prejudice the

  jury by suggesting that he was the ‘little guy’ struggling against great odds”); see

  also Sadler v. Advanced Bionics, LLC, 2013 WL 1340350, at *5 (W.D. Ky. Apr. 1,

  2013) (Ex. 3) (sustaining defendant’s motion to exclude any commentary about the

  size of either legal team).

        Similarly, comments about the residence of Defendant’s legal team—who

  with one exception reside in locations other than Michigan—would be improper and



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  should be excluded, as should any comments regarding the Michigan residency of

  Plaintiff’s legal team. See, e.g., City of Cleveland v. Peter Kiewit Sons’ Co., 624

  F.2d 749, 756 (6th Cir. 1980) (finding that plaintiff’s counsel’s reference to

  defendant’s residence was improper); Westbrook v. General Tire and Rubber Co.,

  754 F.2d 1233, 1241 (5th Cir. 1985) (“[A]ppeals to local bias against an outsider are

  prejudicial . . . .”).

         Finally, comments about the amount that Defendant has spent on legal fees

  are completely irrelevant where, as here, legal fees are not at issue and are not part

  of Plaintiff’s damages theory. Testimony or argument regarding the amount of

  money spent on legal fees by Defendant may confuse or prejudice the jury by

  improperly suggesting that Defendant is concerned about the verdict and therefore

  must have a guilty conscience. See, e.g., DataTreasury Corp. v. Wells Fargo & Co.,

  2010 WL 11538713, at *2 (E.D. Tex. Feb. 26, 2010) (Ex. 4) (granting defendant’s

  motion in limine to exclude references to the amount of legal fees paid by defendants

  because “any probative value of the amounts of Defendants’ legal fees is

  substantially outweighed by the danger of unfair prejudice”).

         Accordingly, the Court should exclude any evidence or argument at trial

  referring to the parties’ legal teams or fees—including the size or relative size of the

  parties’ legal teams, the residence of the parties’ legal teams, or the amount that

  Defendant has spent on legal fees.



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  II.   The Court Should Preclude Plaintiff From Making Negative Comments
        About Defendant’s German Residence Or Improperly Focusing On The
        Fact That Defendant Is A Foreign Or German Company.
        Defendant acknowledges that some evidence regarding the Henkel corporate

  structure is relevant, and hence the jury will likely learn that Henkel KGaA is a

  German company based in Düsseldorf. What would be improper, however, is for

  Plaintiff, its witnesses, or its counsel to make negative comments about Defendant

  being a German company, or improperly focus on the fact that Defendant is based

  in Germany. Such evidence or argument would be an improper appeal to local bias.

  Thus, Defendant asks the Court to exclude repeated, gratuitous, or prejudicial

  references to the fact that Defendant is based in Germany or is a foreign company.

  Defendant asked Plaintiff to stipulate that it would not improperly focus on the fact

  that Defendant is a German company, but Plaintiff refused. See Ex. 2. Plaintiff’s

  refusal to stipulate raises concerns regarding how Plaintiff intends to present its case

  and potentially attempt to gain an advantage by improperly suggesting to the jury

  that it should be biased against a German company in favor of an American

  company.

        Courts routinely disallow negative comments or improper focus on the fact

  that a company is based outside the United States because of the prejudice it would

  cause the foreign company. For example, in Long v. Phillips & Brooks/Gladwin,

  Inc., the court barred the plaintiff from making “repeated references to Defendant as



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  a Japanese company or foreign company,” because such references may “appeal to

  the prejudices of the jury.” 2006 WL 8431254, at *4 (N.D. Ga. Aug. 29, 2006) (Ex.

  5). The court also held that “no negative comments shall be made by Plaintiffs or

  their counsel regarding the origin of [defendant].” Id. (emphasis in original).

  Similarly, in Epic Sys. Corp. v. Tata Consultancy Servs. Ltd., the court found that

  both “references to [defendant] being a ‘foreign’ or ‘alien’ company” and

  “gratuitous or unnecessary references to [defendant] being an ‘Indian’ company”

  were “improper,” and all such references would be precluded. 2016 WL 1179228,

  at *12 (W.D. Wis. Mar. 23, 2016) (Ex. 6).

        Finally, another court faced with a party trying to improperly emphasize that

  a company was based in Germany, like Plaintiff here, held that the party was not

  allowed to “refer to [plaintiff] as a ‘German company’ or a ‘foreign-based

  company.’” Multivac, Inc. v. Rotella’s Italian Bakery, Inc., 2016 WL 7535360, at

  *1 (W.D. Mo. May 3, 2016) (Ex. 7). See also Cunningham Charter Corp. v. Learjet,

  Inc., 2012 WL 1565532, at *9 (S.D. Ill. May 2, 2012) (Ex. 8) (holding that while

  “plaintiff can refer to defendant’s Kansas headquarters,” plaintiff cannot “imply

  something sinister about an out-of-state entity”); Sanford v. Ektelon/Prince Sports

  Grp., Inc., 1999 WL 33544436, at *2 (D. Neb. Nov. 5, 1999) (Ex. 9) (“This Court

  finds that references to foreign affiliation in this case would be prejudicial to the

  defendants and such references are not relevant to the issues in this case.”).



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         There will be no prejudice to Plaintiff if it is required to avoid making negative

  comments about, or improperly focusing on, Defendant’s place of business, because

  the fact that Defendant is based in Germany is irrelevant to Plaintiff’s legal theories

  in this case. Where Defendant is organized or domiciled simply has no bearing on

  whether it breached the Non-Disclosure Agreement or tortiously interfered with a

  valid business expectancy between KCP and Henkel Corporation. On the other

  hand, the prejudice to Defendant from allowing Plaintiff to exploit local bias would

  be particularly acute in this case, where Plaintiff is a Michigan-based company.

          Because inviting the jury to decide this case based on a negative perception

  of Defendant as a foreign company would result in unfair prejudice to Defendant,

  the Court should grant this motion and preclude Plaintiff, its witnesses, and its

  counsel from making negative comments about Defendant’s German residence or

  improperly focusing on the fact that Defendant is a German company.

  III.   The Court Should Exclude All Testimony Or Argument Relating To
         Irrelevant Facts Or Allegations About Defendant.

         The Court should preclude Plaintiff from introducing irrelevant facts or

  allegations relating to Henkel KGaA or its subsidiaries (collectively, “Henkel”) that

  have no bearing on the claims and defenses at issue in this case. Specifically,

  Plaintiff should be precluded from offering evidence or argument relating to

  Henkel’s size, revenue, or profits. Plaintiff should also be precluded from referring




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  to prior litigation matters,1 or allegations of wrongdoing, relating to Henkel. Such

  facts and allegations are irrelevant, would be highly prejudicial, and are thus

  inadmissible under the Federal Rules of Evidence. Although this type of evidence

  is routinely excluded by federal courts under Federal Rules of Evidence 402, 403,

  and 404, when Defendant sought an agreement that Plaintiff would not offer such

  testimony or argument, Plaintiff refused. See Ex. 2.

        Federal courts have routinely held that evidence of a corporate party’s revenue

  or size is improper, recognizing that the likelihood of prejudice far outstrips any

  probative value. See, e.g., City of Cleveland v. Peter Kiewit Sons’ Co., 624 F.2d

  749, 758 (6th Cir. 1980) (holding that the prejudice caused by plaintiff’s “improper

  and prejudicial references” to the size and international character of the defendant

  corporation were so prejudicial that a new trial was warranted); VSI Holdings, Inc.

  v. SPX Corp., 2005 WL 5980804, at *7 (E.D. Mich. Apr. 12, 2005) (Ex. 10)

  (“Statements relating to the poverty of one of the parties or the wealth of the other

  calculated to direct the jury’s attention to the need of an injured party for

  compensation rather than the real issues in the case are not relevant.”); Bell v. Sam’s

  E., Inc., 2018 WL 719042, at *2 (E.D. Tenn. Feb. 5, 2018) (Ex. 11) (excluding




  1
       Defendant uses the term “litigation” in the broadest sense possible to
  encompass, for example, regulatory proceedings.


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  evidence or argument relating to defendant’s “size, revenues, or profitability” as

  irrelevant and likely to lead to unfair prejudice).

        Henkel’s revenue and profits are not relevant to Plaintiff’s legal theories in

  this case, and there is no claim for punitive damages here. Whether Henkel is a large

  or small company does not serve to make any fact regarding Plaintiff’s asserted

  claims for breach of contract or tortious interference more or less probable, and the

  evidence should therefore be excluded under Federal Rule of Evidence 402.

  Moreover, statements regarding Henkel’s size and financial condition could serve to

  prejudice or confuse the jury—for example, facts regarding Henkel’s revenue or

  profits could be used to suggest that Henkel can afford a large damages award—and

  should therefore be excluded under Federal Rule of Evidence 403.

        Similarly, the Court should not allow Plaintiff to offer arguments or evidence

  relating to prior litigation matters relating to Henkel. This type of evidence is also

  routinely excluded under Rules 402, 403, and 404(b). See, e.g., Ross v. Am. Red

  Cross, 567 F. App’x 296, 308 (6th Cir. 2014) (holding that the district court did not

  abuse its discretion by concluding that any probative value of evidence of prior

  litigations was “substantially outweighed by the danger of unfair prejudice”);

  McLeod v. Parsons Corp., 73 F. App’x 846, 854 (6th Cir. 2003) (holding that the

  district court did not abuse its discretion by excluding evidence of other lawsuits

  filed against the defendant because “there was no clear nexus between these lawsuits



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  and this case” and “the potential for prejudice that would have accompanied this

  evidence would have substantially outweighed its probative value”); Aetna, Inc. v.

  Blue Cross Blue Shield of Michigan, 2015 WL 1646464, at *11 (E.D. Mich. Apr.

  14, 2015) (Ex. 12) (granting defendant’s motion in limine and excluding references

  to other private and government lawsuits against plaintiff).

        Finally, Plaintiff, its witnesses, and its counsel should be precluded from

  referencing irrelevant and unsubstantiated prior acts in an attempt to prejudice the

  jury. For example, Craig Bell at his deposition made a vague and unsupported

  assertion concerning unspecified unlawful misconduct at Henkel. Defendant would

  be greatly prejudiced at trial if Plaintiff’s counsel or witnesses made similar

  statements, and the Court should therefore exclude these kind of extremely

  prejudicial comments, which have no relevance to the instant matter. See Lear Auto.

  Dearborn, Inc. v. Johnson Controls, Inc., 2010 WL 11032786, at *6 (E.D. Mich.

  Oct. 18, 2010) (Ex. 13) (excluding references to allegations of defendant’s

  anticompetitive conduct where such allegations were irrelevant to plaintiff’s actual

  claims and were intended only to disparage defendant’s overall conduct in the

  marketplace).




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  IV.   The Court Should Limit Expert Testimony To The Subject Matter Of
        The Respective Expert’s Report And Should Specifically Preclude
        Plaintiff’s Expert Mr. Solomon From Testifying As Both A Fact Witness
        And An Expert Witness.

        The Court should (1) preclude any of Plaintiff’s purported expert witnesses

  from testifying about opinions and facts outside their expert reports, and (2) preclude

  Plaintiff’s purported expert witness, Mr. Solomon, from acting as both an expert

  witness and as a fact witness at trial.2

        First, Plaintiff’s experts should not be allowed to testify about opinions and

  facts that are not in their reports, because such surprise testimony is a violation of

  the Federal Rules of Civil Procedure and would be extremely prejudicial to

  Defendant. This is not a controversial proposition. Federal Rule of Civil Procedure

  26 requires that, at least 90 days before trial, parties must disclose the identity of any

  expert witness and provide a report that contains “a complete statement of all

  opinions the witness will express and the basis and reasons for them” and “the facts

  or data considered by the witness in forming” those opinions. Fed. R. Civ. P.

  26(a)(2)(A)-(B). At trial, an expert can testify only about opinions and facts that the

  expert properly identified pursuant to Rule 26.




  2
        For the reasons explained in Defendant’s Motion to Exclude the Expert
  Testimony of Joel Solomon, Mr. Solomon’s testimony should be excluded in full
  given his lack of expertise and his reliance on multiple unverified assumptions. See
  ECF No. 123.


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        Courts routinely deny attempts to offer new opinions and facts at trial or at

  any point outside of the 90-day timeframe. In King v. Ford Motor Co., the Sixth

  Circuit affirmed the exclusion of expert testimony as to new opinions and facts

  because of the defendant’s “unexcused failure” to disclose that information within

  the time allowed in Rule 26. 209 F.3d 886, 900-901 (6th Cir. 2000). The court

  found that the defendant’s failure “did not allow plaintiffs the opportunity to prepare

  properly for these witnesses,” and therefore it was appropriate to exclude the

  proffered testimony. Id. Similarly, in Asetek Danmark A/S v. CMI USA, Inc. the

  court precluded an expert from testifying at trial as to opinions and facts that were

  “outside the scope of his testimony in his expert report” and were disclosed “literally

  on the eve of trial.” 2014 WL 6997670, at *1-2 (N.D. Cal. Dec. 9, 2014) (Ex. 14).

  The court characterized this kind of behavior as an “ambush.” Id. at *2; see also

  Hadix v. Caruso, 2006 WL 2830062, at *1 (W.D. Mich. Oct. 2, 2006) (Ex. 15)

  (excluding expert testimony that was belatedly disclosed because “Plaintiffs would

  be greatly prejudiced were they forced to confront such testimony without adequate

  preparation and discovery”); Siemens Med. Sols. USA, Inc. v. Saint-Gobain

  Ceramics & Plastics, Inc., 637 F.3d 1269, 1286-87 (Fed. Cir. 2011) (affirming

  exclusion of expert testimony that was “not disclosed in his expert report or

  deposition”).




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        Given the clear law on this issue, on August 17, 2018, Defendant asked

  Plaintiff to agree to a stipulation that “both parties will limit the testimony of expert

  witnesses to the opinions disclosed in their report(s) and the facts identified as

  having been relied upon in support.” Ex. 2. On August 20, 2018, Plaintiff rejected

  Defendant’s proposed stipulation, stating that “KCP will not stipulate to this,” in part

  because “new facts may be entered into evidence that our experts will need to

  consider.” Id. Plaintiff’s position is contrary to settled law and the unambiguous

  language of Rule 26. If Plaintiff were allowed to introduce new expert opinions and

  facts at trial, Defendant would be “greatly prejudiced” by being “forced to confront

  such testimony without adequate preparation and discovery.” Hadix, 2006 WL

  2830062, at *1.

        Second, Mr. Solomon should not be allowed to act as both an expert witness

  and a fact witness at trial. On August 20, 2018, when Plaintiff rejected Defendant’s

  proposed stipulation Plaintiff revealed that, in addition to offering Mr. Solomon as

  an expert witness, Plaintiff was planning to offer Mr. Solomon as a fact witness. See

  Ex. 2 (“Moreover, we will not stipulate to limiting Mr. Solomon’s testimony

  regarding his factual knowledge of oil refinery maintenance and operations.”). This

  is improper and should be disallowed.

        Plaintiff cannot offer Mr. Solomon as a fact witness in this case because it has

  not properly disclosed, at any point, that Mr. Solomon would be serving as a fact



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  witness. See, e.g., Ex. 16 (not listing Mr. Solomon as a person who “may have

  discoverable information that [Plaintiff] may use to support its defenses in this

  action”). Throughout this litigation, Plaintiff has only disclosed Mr. Solomon as an

  expert witness. In fact, just recently on August 10, 2018, in its Rule 26 pretrial

  disclosures, Plaintiff identified Mr. Solomon as a potential witness who will

        provide expert opinions and testimony regarding (1) the nature and
        operations of the oil refinery business and (2) the effect that the
        cleaning technology and process offered by KCP would have on oil and
        gas refinery operations as well as other industry uses as stated and
        described in his expert report dated March 1, 2018.

  ECF No. 147 at 4.

        Having never before identified Mr. Solomon as a fact witness, Plaintiff should

  not be able to offer him as such at trial. Defendant was not able to take any discovery

  related to, or adequately prepare for, Mr. Solomon’s testimony as a fact witness.

  This kind of surprise testimony should be disallowed. See Fed. R. Evid. 403

  (allowing the exclusion of evidence that would cause “unfair prejudice”).

  V.    The Court Should Require That The Parties Use Clean Copies Of All
        Documents At Trial.

        This Court entered a Protective Order that allowed the parties to place a

  “confidential” or “highly confidential” legend on produced documents if a party

  determined that a document warranted such a legend pursuant to the Protective

  Order. See ECF No. 79. Accordingly, Henkel KGaA and Henkel Corporation

  produced documents during discovery that include a “confidential” or “highly


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  confidential” designation. Those “confidential” labels were not, of course, included

  on the original documents, but rather were added during discovery only to comply

  with the Protective Order.

        Defendant is concerned that these “confidential” or “highly confidential”

  labels may be confusing to the jury, for at least two reasons. First, one of Plaintiff’s

  claims is that Defendant used Plaintiff’s confidential information in breach of the

  Non-Disclosure Agreement. The issue of what information (if any) is confidential

  under the Non-Disclosure Agreement between the parties is a hotly disputed issue

  to be decided by the jury at trial. If litigation-related confidentiality designations are

  still on the documents presented to the jury, the jury may erroneously believe that

  the litigation-related confidentiality designation indicates that the document is

  confidential under the Non-Disclosure Agreement. Second, there are a number of

  instances where the parties produced the same document but Plaintiff did not mark

  that document with a confidentiality designation under the Protective Order and

  Henkel KGaA or Henkel Corporation did. See, e.g., Exs. 17-18. If the jury sees

  these inconsistent confidentiality designations, it could be confused. Accordingly,

  Defendant suggested to Plaintiff that both parties use as trial exhibits copies of

  documents that would not include the “confidential” stamps added during discovery.

  Plaintiff refused to do so. See Ex. 2.




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        There is no reason to use trial exhibits that differ from the originals, especially

  if the jury may erroneously believe that a party or witness designated a document as

  “confidential” or “highly confidential” pursuant to the Non-Disclosure Agreement

  at the time it was generated. As a general matter, Federal Rule of Evidence 1002

  requires parties to use original exhibits, which of course would not include

  confidentiality designations added during discovery. Indeed, to avoid jury confusion

  arising from designations or redactions to original exhibits, courts have required

  parties to remove all litigation-related designations. See, e.g., Ex. 19 (12/3/15 Order,

  In re General Motors LLC Ignition Switch Litigation, Case No. 14-md-02543, at 6)

  (finding that “there is no reason for ‘privilege,’ ‘work product,’ or other markings

  indicative of privilege assertions to appear in exhibits”). Using clean copies of

  documents at trial will ensure that the jurors are not confused or misled by any

  litigation-related designation or exhibit sticker leftover from use at a deposition. If

  clean versions are not used, jurors may be confused about what the litigation-related

  designations mean, who added them, or why they were added.3




  3
         Defendant has no objection to keeping the Bates numbers added for
  production tracking purposes, as there is no risk of jury confusion from those
  numbers. However, documents that include privilege redactions should simply show
  the blacked-out text, without any additional labels (such as “privileged”) added to
  the document.


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        In refusing Defendant’s proposed stipulation on this matter, Plaintiff asserted

  that “KCP believes that Henkel KGaA’s and Henkel Corporation’s ‘confidential’

  designations are substantive evidence in this case.” Ex. 2. That position is wrong.

  Whether a party designated a document as “confidential” or “highly confidential”

  pursuant to the Protective Order says nothing about whether the document was

  considered “confidential” at the time by a party pursuant to the Non-Disclosure

  Agreement. This is especially true given that the parties treated the same documents

  differently during discovery. To rebut Plaintiff’s erroneous argument, Defendant

  would have to submit evidence that Plaintiff failed to designate certain documents

  as confidential during discovery. The result would be confusion and a waste of trial

  time focused on discovery designations.

        For all these reasons, the Court should order the parties to use copies of trial

  exhibits that do not include “confidential” stamps added during discovery to comply

  with the Protective Order. Defendant has already produced copies of its trial exhibits

  to Plaintiff that do not include such stamps.

                                    CONCLUSION

        For the foregoing reasons, Defendant respectfully requests that the Court grant

  these motions in limine.




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  Dated: August 28, 2018              Respectfully submitted,
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                           CERTIFICATE OF SERVICE
        I certify that on August 28, 2018, I filed the foregoing paper with the Clerk of

  the Court using the ECF system, which will electronically send notification to all

  counsel of record.

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